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SANDRA R. BROWN

Acting United States Attorney

LAWRENCE S. MIDDLETON

Assistant United States Attorney 5

 

 

 

 

 

 

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED sTATES or AMERICA, No.c§ a g y , a §§ aff
gt.@@@@§r-lvl
Plaintiff, PLE AGREEMENT FOR DEFENDANT
RALPH TILLMAN
v.
RALPH TILLMAN,
Defendant.
l. This constitutes the plea agreement between Ralph Tillman

(“defendant”) and the United States Attorney’s Office for the Central
District of California (“the USAO”) in the above-captioned case.
This agreement is limited to the USAO and cannot bind any other
federal, state, local, or foreign prosecuting, enforcement,
administrative, or regulatory authorities.
DEFENDANT'S OBLIGATIONS
2. Defendant agrees to:
a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the

Court, appear and plead guilty to a two-count information in the form

 

 

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attached to this agreement as Exhibit A or a substantially similar
form, which charges defendant with false statements to a government
agent in violation of 18 U.S.C. § 1001 and subscribing to a false tax
return in violation of 26 U.S.C. § 7206(1).

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4Al.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court,

g. Pay the applicable special assessments at or before
the time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

3. Defendant admits that defendant received $244,000 of
unreported income for 2003-2015, which consists of the following
amounts for the following years: $7,000 for 2003, $9,000 for 2004,
$12,000 for 2005, $13,500 for 2006, $15,000 for 2007, $16,000 for
2008, $21,500 for 2009, $22,500 for 2010, $23,500 for 2011, $24,500
for 2012, $25,500 for 2013, $26,500 for 2014, and $27,500 for 2015.

Defendant agrees that:

 

 

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a. Defendant will file, prior to the time of sentencing,
amended returns for the years subject to the above admissions,
correctly reporting unreported income; will, if requested to do so by
the Internal Revenue Service, provide the Internal Revenue Service
k with information regarding the years covered by the returns; will pay
sat or before sentencing, if financially able, all additional taxes
and all penalties and interest assessed by the Internal Revenue
Service on the basis of the returns; and will promptly pay all
additional taxes and all penalties and interest thereafter determined

by the Internal Revenue Service to be owing as a result of any

 

 

computational errors.

" b. Nothing in this agreement forecloses or limits the

ability of the Internal Revenue Service to examine and make
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adjustments to defendant’s returns after they are filed.

c. Defendant will not, after filing the returns, file any
claim for refund of taxes, penalties, or interest for amounts

hattributable to the returns filed in connection with this plea

agreement.

l d. Defendant is liable for the fraud penalty imposed by

the Internal Revenue Code, 26 U.S.C. § 6663, on the understatements

of tax liability for 2003-2015.

 

e. Defendant gives up any and all objections that could
be asserted to the Examination Division of the Internal Revenue
Service receiving materials or information obtained during the
criminal investigation of this matter, including materials and

information obtained through grand jury subpoenas.

 

 

f. Defendant will sign closing agreements with the

Internal Revenue Service contemporaneously with the signing of this

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plea agreement, permitting the Internal Revenue Service to assess and
collect the total sum of $62,005 (consisting of the following amounts
for the following tax years: $1,750~(2003); $2,700 (2004); $3,041
(2005); $3,418 (2006); $3,793 (2007); $2,826 (2008); $5,835 (2009);
$6,075 (2010); $5,875 (2011); $6,125 (2012); $6,474 (2013); $6,625
(2014); $7,468 (2015) for the defendant’s tax years 2003-2015), which
comprises the tax liabilities, as well as assess and collect the
civil fraud penalty for each year and statutory interest, on the tax
liabilities, as provided by law. ~

4. Defendant further agrees to cooperate fully with the USAO,
Veterans Affairs-Office of the Inspector General, the Federal Bureau
of Investigation, the Internal Revenue Service, and, as directed by
the USAO, any other federal, state, local, or foreign prosecuting,
enforcement, administrative, or regulatory authority. This
cooperation requires defendant to:

a. Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b. Attend all meetings, grand jury sessions, trials or
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order.

c. Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

a. If requested to do so by the USAO, act in an
undercover capacity to the best of defendant’s ability in connection
with criminal investigations by federal, state, local, or foreign law
enforcement authorities, in accordance with the express instructions

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of those law enforcement authorities. Defendant agrees not to act in
an undercover capacity, tape record any conversations, or gather any
evidence except after a request by the USAO and in accordance with
express instructions of federal, state, local, or foreign law
enforcement authorities.

5. For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant
pursuant to defendant’s cooperation under this agreement or pursuant
to the letter agreement previously entered into by the parties dated
May 16, 2017 (the “Letter Agreement”); and (2) “Plea Information”
shall mean any statements made by defendant, under oath, at the
guilty plea hearing and the agreed to factual basis statement in this

agreement.

THE USAO’S OBLIGATIONS
6. The USAO agrees to:

a. Not contest facts agreed to in this agreement.

b. Abide by all agreements regarding sentencing contained
in this agreement.

c. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

7. The USAO further agrees:
a. Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be

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brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose, including
any criminal prosecution of defendant; (2) to cross-examine defendant
should defendant testify, or to rebut any evidence offered, or
argument or representation made, by defendant, defendant’s counsel,
or a witness called by defendant in any trial, sentencing hearing, or
other court proceeding; and (3) in any criminal prosecution of
defendant for false statement, obstruction of justice, or perjury.

b. Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation Information not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the probation office and the Court, and that the Court may use
Cooperation Information for the purposes set forth in U.S.S.G
§ lBl.S(b) and for determining the sentence to be imposed.

c. In connection with defendant’s sentencing, to bring to
the Court’s attention the nature and extent of defendant’s
cooperation.

d. If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant’s obligations under
paragraphs 2 and 3 above and provided substantial assistance to law

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enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.
§ 5Kl.l to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range,
DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION
8. Defendant understands the following:

a. Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by
defendant of this agreement.

b. Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c. Defendant cannot withdraw defendant’s guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.l for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion but
elects to sentence above the reduced range,

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e. The USAO’s determination whether defendant has

vprovided substantial assistance will not depend in any way on whether

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the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant’s cooperation.
NATURE OF THE OFFENSE

9. Defendant understands that for defendant to be guilty of
the crime charged in Count One of the Information, that is, false
statement to a government agency in violation of Title 18, United
States Code, Section 1001, the following must be true: (a) first,
defendant made a false statement in a matter within the jurisdiction
of the Department of Veterans Affairs, Office of Inspector General
(“VA-OIG”); (b) second, defendant acted willfully; that is, defendant
acted deliberately and with knowledge both that the statement was
untrue and that his conduct was unlawful; and (c) third, the
statement was material to the activities or decisions of VA-OIG; that
is, it had a natural tendency to influence, or was capable of
'influencing, the agency’s decisions or activities.
10. Defendant understands that for defendant to be guilty of
'the crime charged in Count Two of the Information, that is,
subscribing to a false tax return in violation of Title 26, United
States Code, Section 7206(1), the following must be true: (1)
defendant signed and filed a tax return for the year 2014 that he
knew contained false information as to a material matter; (2) the
return contained a written declaration that it was being signed
|subject to the penalties of perjury; and (3) in filing the false tax
return, defendant acted willfully. A matter is material if it had a
natural tendency to influence, or was capable of influencing, the

decisions or activities of the Internal Revenue Service. A defendant

 

acts willfully when defendant knows that federal tax law imposed a

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duty on defendant and defendant intentionally and voluntarily
violated that duty. n
PENALTIES AND RESTITUTION

ll. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section lOOl, is: five years’ imprisonment; a three-year period
of supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

12. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 26, United States
Code, Section 7206(1), is: three years’ imprisonment; a one-year
period of supervised release; a fine of $250,000 or twice the gross
gain or gross loss resulting from the offense, whichever is greatest;
and a mandatory special assessment of $lOO.

13. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
eight years’ imprisonment; a three-year period of supervised release;
a fine of $500,000 or twice the gross gain or gross loss resulting
from the offenses, whichever is greatest; and a mandatory special
assessment of $200.

14. Defendant understands and agrees that the Court: (a) may
order defendant to pay restitution in the form of any additional
taxes, interest, and penalties that defendant owes to the United
States based upon the count of conviction and any relevant conduct,
and; and (b) must order defendant to pay the costs of prosecution,

which may be in addition to the statutory maximum fine stated above.

 

 

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15. Defendant understands that supervised release is a period
`of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

16. Defendant understands that, by pleading guilty, defendant

 

may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.
Defendant understands that once the court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

17. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
ldefendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The court cannot,
and defendant’s attorney also may not be able to, advise defendant

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fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea.
FACTUAL BASIS

18, Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charges described in this agreement and to establish
the Sentencing Guidelines factors set forth in paragraph 20 below but
is not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that

relate to that conduct,

Background on WSS Contract, Defendant’s Job as a VA Contractinq

Official, and the Bribery Scheme

The United States Department of Veterans Affairs (“VA”) was
authorized by law to enter into “sharing” agreement contracts with
other entities for the use of VA space. Further, the law authorized
VA to retain the proceeds of the transactions and the VA required
that contracts “must be in the best interest of veterans” and “must
be in the best interest of the government.”

From approximately January 2000 to September 2014, defendant
held various positions at VA, Greater Los Angeles Healthcare System
(“GLAHS”), including Chief of Asset Management and Chief of
Communications and External Affairs. 'In these positions, defendant
served as a contracting officer and had the fiduciary responsibility
for managing the process in which the VA entered into contracts with

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“Sharing Partners” on the VA’s West Los Angeles campus. The Sharing
Partners provided goods, rent and/or services to the VA and, in the
case of Westside Services, LLC (“WSS”)y described below, collected
revenue for activities and events on VA property and were required to
share revenue with the VA. Defendant’s responsibilities included
conducting negotiations with prospective Sharing Partners for land
use agreements and determining whether VA should enter into certain
agreements.

Defendant was an employee acting for, or and on behalf, of a
department of the United States government, namely, the VA.

WSS was a California Limited Liability Company (“LLC”). Co-
conspirator Richard Scott (“Scott”) was the primary owner and had
primary responsibility for the day-to-day operations of WSS.

In 1999, WSS was awarded a share agreement contract (“the
Contract”) with the VA to operate parking lots at the VA GLAHS,
primarily at the West Los Angeles campus. On July 15, 2002, VA and
WSS entered into a superseding contract, under the same contract
number (V691S-154). The VA was entitled to receive 60% of the gross
revenue of WSS’s services provided under the modified Contract. WSS
was authorized to receive the remaining 40% of the gross revenue but
was required to deduct all expenses from its share of the gross
revenue. Over time, the revenue was derived from a variety of
sources, all operating on VA property. The revenue included:
parking at the Barrington Place Lot, UCLA baseball games, Wadsworth
and Brentwood Theaters, Nissan Open Golf Tournament, L.A. Marathon,
and payments from businesses who rented VA lots to park buses,

vehicles, and to store equipment and supplies.

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As part of defendant’s official duties in managing share
agreement contracts for the VA, defendant was responsible for
reviewing “annual reconciliation reports” (aka “Settlement
Statements”), which were an annual accounting of revenue and amounts
due to the VA, and were required by the share agreement contracts
with the VA. Pursuant to the Contract, WSS was required to submit
annual Settlement Statements to VA and defendant was responsible for
reviewing the hSS’s Settlement Statements for accuracy and approval.
As the contracting officer, defendant was also responsible for
determining what in-kind services/improvements WSS could perform for
the VA, in lieu of monetary revenue paid to VA.

Bribe£y Scheme

In approximately November 2003 defendant solicited a payment
from Richard Scott. The initial payment was for defendant to pay for
a family matter. On or about November 10, 2003, Scott went to
defendant’s office and gave defendant a FedEx envelope containing
approximately $6,000 in 100 bills.

After the $6,000 payment, between November 2003 and May 2004,
Scott gave defendant a few hundred dollars approximately three to
four times.

Approximately one to two years after Scott gave defendant the
initial $6,000 payment, Scott began a regular pattern of paying
defendant cash approximately once a month. The cash was hand
delivered, by Scott, to defendant primarily at defendant’s office.
|The cash, which ranged from $500 to $1,000 each time, and on a few_
occasions, reached as high as $4,000, was delivered in a sealed FedEx
envelope containing 100-dollar bill denominations. In instances

where the cash payments reached $1,000, ten 100-dollar bills were

 

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stapled together. Scott would generally place the envelope on
defendant’s desk without further discussion. Sometimes defendant
would thank Scott for the money, and tell Scott that the money was
really helping him out.

On many occasions, Scott increased the amount of bribe payments
to defendant, approximately twice a year, when defendant’s property
tax payments were due.

On a few occasions, defendant and Scott met at a restaurant in
the Brentwood area of Los Angeles where Scott gave defendant the
FedEx envelope containing the monthly cash bribes.

Scott’s payments to defendant continued, uninterrupted, in this
manner until defendant retired from the VA in September 2014.

In return for the cash bribe payments and other things of value,
defendant would, among other things: (a) intentionally fail to
scrutinize the annual Settlement Statements, despite that defendant
knew the Settlement Statements contained false information; (b) fail
to inform his superiors at the VA that Scott was not reporting
accurate and truthful revenue and expenses to the VA; and (c) would
enter into a modification of and an extension (on May 25, 2011) of
the Contract with WSS, and other agreements, in order to continue the
fraud and bribery scheme.

Scott told defendant that he got a lot more income than he
reported to the VA and liked cash customers. Defendant also knew
that Scott was falsely inflating expenses/in-kind services reported
to the VA. Defendant was aware that Scott was defrauding the VA out

of millions of dollars, but'was not aware of the full extent of the

fraud.

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False Statements to Federal Agents

On September 16, 2014, VA-Office of Inspector General (“OIG”)
agents interviewed defendant at his office in Los Angeles. Defendant
knowingly and willfully made materially false, fictitious, and
fraudulent statements and representation to the agents, which
included the following: defendant denied that he received money,
favors, gifts, or anything of value from Scott; claimed that
unexplained cash deposits in his bank accounts were from a variety of
things; stated that he did not take anything from WSS and that he was
truthful to the interviewing agents. In truth, defendant did receive
money and other things of value from Scott, and defendant did deposit
cash bribe payments from Scott into his bank account.

Defendant made false statements to the federal agents on
September 16, 2014 to conceal his illegal bribery scheme with Scott.
Defendant’s false statements were material in that they had a
tendency to influence the investigation of VA-OIG and affected VA-
OIG’s ability to properly investigate the illegal activity of both
defendant and Richard Scott.

Following defendant’s retirement from the VA, he continued to
kmeet with Scott and continued to accept cash payments from Scott as
“hush money” and to conceal the bribery scheme. Defendant even
loffered Scott advice about how to negotiate with the VA over contract

terminations. During this time period, Scott told defendant, in

 

reference to the long running bribery scheme, “if l go down, you go

 

down.”

Unreported Income and Tax Due and Owing

' For calendar years 2003 to 2015, defendant failed to report a

total of $244,00 of income he received from the bribery payments

 

 

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described above, which consists of the following amounts for the

following years: $7,000 for 2003, $9,000 for 2004, $12,000 for 2005,

 

$13,500 for 2006, $15,000 for 2007, $16,000 for 2008, $21,500 for

 

 

2009, $22,500 for 2010, $23,500 for 2011, $24,500 for 2012, $25,500
for 2013, $26,500 for 2014, and $27,500 for 2015. Defendant’s under
reporting of income resulted in lowering the taxes reported as due
and owing on his 1040 tax returns. As a result of defendant’s
conduct, defendant owes additional taxes totaling $62,005 consisting
of the following amounts for the following tax years: $1,750 (2003);
$2,700 (2004); $3,041 (2005); $3,418 (2006); $3,793 (2007); $2,826
(2008); $5,835 (2009); $6,075 (2010); $5,875 (2011); $6,125 (2012);
$6,474 (2013); $6,625 (2014); $7,468 (2015).

On or about OCtober 7, 2015, in Los Angeles County, within the
Central District of California, defendant willfully made and
subscribed to a materially false U.S. lndividual Income Tax Return,
Form 1040, for the calendar year 2014, which defendant verified by a
`written declaration that it was made under penalty of perjury, and
|filed such tax return with the Internal Revenue Service, which
hdefendant did not believe to be true and correct as to every material

matter in that it failed to report the additional income for 2014

 

described above.

The false information provided by defendant was material in
that it affected the IRS's calculation of the amount of income earned
and prevented the IRS from verifying the accuracy of the amount of
tax claimed to be owed on defendant’s return. Defendant acted
willfully. Defendant knew that the law required him to report all

income accurately and to pay all income tax that was due and owing.

 

 

Defendant voluntarily and intentionally violated that duty.

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H Additional Illegal Income and Estimated Total Bribe Receipts

In addition to the unreported income received from bribery
payments, described above, defendant received from Scott illegal

income of $28,500 in 2016 and $13,750 in 2017, which made the total

 

 

estimated bribes from Scott approximately $286,250 for 2003-2017,
SENTENCING EACTORS

19. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of

conviction.

20. Defendant and the USAO agree to the following applicable

|Sentencing Guidelines factors:

ll Count One (False Statements)

Base Offense Level: 14 [U.S.S.G. § 2J1.2(a)]

 

Specific Offense
Characteristics:
[Substantial interference

with the administration of
justice] +3 [U.S.S.G. §2Jl.2(b)(2)]

Adjustment: Obstructing +2 [U.S.S.G. § 3C1.1]
or impeding the administration
of justice

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Count Two (Subscribing to False Tax Return)

Base Offense Level: 14 [U.S.S.G. § 2T1.1(a)(1)
[$62,000 Tax Loss] and § 2T4.1(E)]

Specific Offense

Characteristics: [Failure to

Report Income 0ver $10,000

from Criminal Activity] +2 [U.S.S.G. §2T1.1(b)(1)]
Multi Count Adjustment: +2 [U.S.S.G. § 3Dl.l and

 

3D1.3]

Defendant and the USAO reserve the right to argue that additional
specific offense characteristics, adjustments, and departures under
the Sentencing Guidelines are appropriate.

21. Defendant understands that there is no agreement as to
defendant’s criminal history or criminal history category.

22. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(l),
(a) (2) , (a) (3), (a) (6) , and (a) (7) .

WAIVER OF CONSTITUTIONAL RIGHTS

23. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

c. The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint

counsel - at every other stage of the proceeding.
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q d. The right to be presumed innocent and to have the

"burden of proof placed on the government to prove defendant guilty

beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses

 

lagainst defendant,

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the

attendance of witnesses to testify.
g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that

choice not be used against defendant,
" h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION
" 24. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to
llappeal defendant’s convictions on the offenses to which defendant is
"pleading guilty.
LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 

 

25. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than 46
months, defendant gives up the right to appeal all of the following:
(a) the procedures and calculations used to determine and impose any
portion of the sentence; (b) the term of imprisonment imposed by the
Court; (c) the fine imposed by the court, provided it is within the
statutory maximum; (d) the amount and terms of any restitution order,

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provided it requires payment of no more than $62,500; (e) the term of
probation or supervised release imposed by the Court, provided it is
within the statutory maximum; and (f) any of the following conditions
of probation or supervised release imposed by the Court: the
conditions set forth in General Orders 318, 01-05, and/or 05-02 of
this Court; the drug testing conditions mandated by 18 U.S.C.
§§ 3563(a)(5) and 3583(d).

26. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above and
|(b) the Court imposes a term of imprisonment of no less than 37
months, the USAO gives up its right to appeal any portion of the
sentence, with the exception that the USAO reserves the right to

appeal the following: (a) the amount of restitution ordered if that

amount is less than $62,500.

 

 

RESULT OF WITHDRAWAL OF GUILTY PLEA

27. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty plea on any basis other than a
‘claim and finding that entry into this plea agreement was
|involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
uobligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information
and any evidence derived from any Cooperation Information shall be

admissible against defendant, and defendant will not assert, and

 

 

hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation

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Information or any evidence derived from any Cooperation Information
should be suppressed or is inadmissible; and (c) should the USAO
choose to pursue any charge that was either dismissed or not filed as

a result of this agreement, then (i) any applicable statute of

 

 

limitations will be tolled between the date of defendant’s signing of
this agreement and the filing commencing any such action; and
(ii) defendant waives and gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent
that such defenses existed as of the date of defendant’s signing this
agreement.
EFFECTIVE DATE OF AGREEMENT

28. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

29. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant’s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. For example, if defendant
knowingly, in an interview, before a grand jury, or at trial, falsely
accuses another person of criminal conduct or falsely minimizes
defendant’s own role, or the role of another, in criminal conduct,
defendant will have breached this agreement. All of defendant’s
obligations are material, a single breach of this agreement is
sufficient for the USAO to declare a breach, and defendant shall not

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be deemed to have cured a breach without the express agreement of the
USAO in writing. If the USAO declares this agreement breached, and
the Court finds such a breach to have occurred, then:

a. If defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

b. The USAO will be relieved of all its obligations under
this agreement; in particular, the USAO: (i) will no longer be bound
by any agreements concerning sentencing and will be free to seek any
sentence up to the statutory maximum for the crime to which defendant
has pleaded guilty; and (ii) will no longer be bound by any agreement
regarding the use of Cooperation Information and will be free to use
any Cooperation lnformation in any way in any investigation, criminal
prosecution, or civil, administrative, or regulatory action.

c. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant,

d. In any investigation, criminal prosecution, or civil,
administrative, or regulatory action: (i) defendant will not assert,
and hereby waives and gives up, any claim that any Cooperation
Information was obtained in violation of the Fifth Amendment
privilege against compelled self-incrimination; and (ii) defendant
agrees that any Cooperation Information and any Plea Information, as
well as any evidence derived from any Cooperation Information or any
Plea Information, shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule ll(f) of the Federal Rules of

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Criminal Procedure, or any other federal rule, that any Cooperation
Information, any Plea Information, or any evidence derived from any
Cooperation Information or any Plea Information should be suppressed
or is inadmissible.

COURT AND PROBATION OFFICE NOT PARTIES

30. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO's sentencing recommendations or the parties’
agreements to facts or sentencing factors.

31. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court’s Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court’s Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 20 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may
be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant’s and the USAO’s obligations
not to contest the facts agreed to in this agreement.

32. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,

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Vwithdraw defendant’s guilty plea, and defendant will remain bound to
fulfill all defendant’s obligations under this agreement. Defendant

lunderstands that no one -- not the prosecutor, defendant’s attorney,

"or the Court -- can make a binding prediction or promise regarding

the sentence defendant will receive, except that it will be within

qthe statutory maximum.

NO ADDITIONAL AGREEMENTS

33. Defendant understands that, except as set forth herein,

 

 

there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a

writing signed by all parties or on the record in court,

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PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
34. The parties agree that this agreement will be considered
part of the record of defendant’s guilty plea hearing as if the

entire agreement had been read into the record of the proceeding.

AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF
CALIFORNIA

SANDRA R. BROWN

(§gtin%( United States 'torney
\ c>QAMM7 q ;L/Vg

RUTH c~. PINKEL/\Q/ mate

Asf s ant 1 e a es Attorne
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D f Hd M Date
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DAVI`DJE/LDWN nate/ ’/
A% orney for Defendant Ralph

Tillman

 

 

CERTIFICATION OF DEFENDANT

I have read this agreement in its entirety. 1 have had enough
time to review and consider this agreement, and l have carefully and
thoroughly discussed every part of it with my attorney; l understand
the terms of this agreement, and l voluntarily agree to those terms.
l have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or

representations of any kind have been made to me other than those

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contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. 1 am satisfied with the
representation of my attorney in this matter, and 1 am pleading
guilty because 1 am guilty of the charges and wish to take advantage

of the promises set forth in this agreement, and not for any other

MQM iam/17

RALPH T:LLMAN‘ Date
Defendant

 

CERTIFICATION OF DEFENDANT'S ATTORNEY

1 am RAPLH TILLMAN'S attorney. 1 have carefully and thoroughly
discussed every part of this agreement with my client. Further, l
have fully advised my client of his rights, of possible pretrial
motions that might be filed, of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set

forth in this agreement is sufficient to support my client’s entry of

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thrn”rtsanv mate '
Attorney for Defendant Ralph

Tillman

    

rsuant to this agreement.

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EXHIBIT A

 

 

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR NO. 17-
PMMUH, iiterraii§r
v. [18 U.S.C. § 1001: False
Statements; 26 U.S.C. § 7206(1):
RALPH TILLMAN, Subscribing to False Tax Return]
Defendant.

 

 

 

 

The Acting United States Attorney charges:
COUNT ONE
[18 U.S.C. § 1001]

On or about September 16, 2014, in Los Angeles County, within
the Central District of California, in a matter within the
jurisdiction of the executive branch of the government of the United
States, specifically, Department of Veteran’s Affairs, Office of
Inspector General (“VA-OIG”), defendant RALPH TlLLMAN knowingly and
willfully made a materially false, fraudulent, fictitious, and
fraudulent statement and representation to two Special Agents of VA-
OIG, in that defendant TlLLMAN represented that he had not received
money, favors, gifts, or anything of value from co-conspirator

Richard Scott. When in truth and fact, as defendant TILLMAN then

 

 

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well knew, defendant had been accepting bribe payments from co-

conspirator Richard Scott for eleven years.

 

 

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CGUNT TWO
[26 U.S.C. § 7206(1)]

On or about October 7, 2015, in Los Angeles County, within the
Central District of California, defendant RALPH A. T1LLMAN
(“TILLMAN”) willfully made and subscribed to a materially false U.S.
1ndividua1 Income Tax Return, Form 1040, for the calendar year 2014,
which defendant T1LLMAN verified by a written declaration that it was
made under penalty of perjury, and filed such tax return with the
1nterna1 Revenue Service, which defendant TILLMAN did not believe to
be true and correct as to every material matter, in that the tax
return reported total (joint) income of 8155,914, when, in fact, as
defendant TlLLMAN then knew, he failed to report additional income of

$26,500 for calendar year 2014.

SANDRA R. BROWN
Acting United States Attorney

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

MACK E. JENKINS

Assistant United States Attorney

Chief, Public Corruption and Civil
Rights Section

RUTH C. PINKEL

Assistant United States Attorney
Public Corruption and Civil Rights
Section

 

 

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PROOF OF SERVICE

1, Sandy Ear, declare:

That 1 am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that 1 am over the age of 18; and
that 1 am not a party to the above-titled action;

That 1 am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the
United States District Court for the Central District of California,
at whose direction the service by mail described in this Certificate
was made; that on January 12, 2018, 1 deposited in the United States
mail at the United States Courthouse in the above-titled action, in
an envelope bearing the requisite postage, a copy of: Plea Agreement
for Defendant Ralph Tillman

service was:

|:] Placed in a closed envelope Placed in a sealed envelope
for collection and inter- for collection and mailing via
office delivery, addressed as United States mail, addressed
follows: as follows:

[j By hand delivery, addressed as [j By facsimile, as follows:
follows:

13 By messenger, as follows: ij By Federal Express, as
follows:

David A. Elden, Esq.

Law Office of David A. Elden
11377 W. Olyrnpic Blvd., 10th Floor
Los Angeles, CA 90064-1625

at his last known address, at which place there is a delivery

service by United States mail.

 

 

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This Certificate is executed on January 12, 2018, at Los
Angeles, California, 1 certify under penalty of perjury that the

foregoing is true and correct.

Mg%»_/
sHNDY EAP;/
Legal Assistant

 

 

